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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AVIATION WEST CHARTERS, LLC                    :                  CIVIL ACTION
                                               :
               vs.                             :
                                               :
AETNA HEALTH, INC., et al.                     :                    NO. 15-6730


                                          ORDER


               AND NOW, TO WIT: This 27th day of June, 2016, it having been reported that
the issues between the parties in the above action has been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court
(effective January 1, 1970), it is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel without costs.



                                                BY THE COURT:




                                                _ /s/ Carol Sandra Moore Wells ___
                                                CAROL SANDRA MOORE WELLS
                                                United States Magistrate Judge




Civ 2 (7/83)
41.1(b)
